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        In the United States Court of Federal Claims
   * * * * * * * * * * * * * * * * ** *
                                      *
  ALAN KING,                          *
                  Plaintiff,          *
                                      *
           v.                           Nos. 17-1839C; 17-18390C
                                      *
                                        Filed: March 9, 2018
                                      *
  UNITED STATES,                      *
                  Defendant.          *
                                      *
   * * * * * * * * * * * * * * * * ** *
                                  ORDER

       The court is in receipt of plaintiffs’ notice of voluntary dismissal of the above-
captioned plaintiff’s claims in the case Melvin Armwood, et al. v. United States, Case No.
17-1839C. The claims associated with the above-captioned plaintiff are, hereby,
SEVERED from the case of Melvin Armwood, et al. v. United States, Case No. 17-1839C,
and shall be reorganized, for case management purposes, into the above-captioned case,
Alan King v. United States, and assigned Case No. 17-18390C. The court DISMISSES
WITHOUT PREJUDICE the claims of Alan King. The Clerk’s Office shall enter
JUDGMENT consistent with this Order. Neither the dismissal of the claims of the plaintiff
herein nor the entry of judgment by the Clerk’s Office shall affect this court’s jurisdiction
over the remaining plaintiffs in the case of Melvin Armwood, et al. v. United States, Case
No. 17-1839C.


       IT IS SO ORDERED.
                                                      s/Marian Blank Horn
                                                      MARIAN BLANK HORN
                                                               Judge
